                                                Case 5:18-cv-01609-JGB-KK Document 1 Filed 08/01/18 Page 1 of 39 Page ID #:1



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                                                      [ADDITIONAL COUNSEL ON
                                                 8    FOLLOWING PAGE]
                                                 9
                                                                           UNITED STATES DISTRICT COURT
                                                10                        CENTRAL DISTRICT OF CALIFORNIA
                                                                           EASTERN DIVISION – RIVERSIDE
One Sin, 1980 Festival Plaza Drive, Suite 900




                                                11
      Las Vegas, Nevada 89135-2958




                                                12    STEPHENSON AWAH TENENG,                            Case Number:
                                                      MARCEL NGWA, ANKUSH KUMAR,
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                                                13    GURJINDER SINGH, ATINDER PAUL
                                                      SINGH, NOE MAURICIO GRANADOS
                                                14    AQUINO, and all others similarly situated,
                                                                                                         COMPLAINT
                                                15                                         Plaintiffs,
                                                                                                         CLASS ACTION
                                                16                        v.
                                                      DONALD J. TRUMP, President of the
                                                17    United States,
                                                      KIRSTJEN NIELSEN, Secretary
                                                18    Department of Homeland Security;
                                                      RONALD D. VITIELLO, Acting Director,
                                                19    Immigration and Customs Enforcement;
                                                      DAVID MARIN, Field Office Director, Los
                                                20    Angeles Field Office of Immigration and
                                                      Customs Enforcement;
                                                21    JEFFERSON BEAUREGARD SESSIONS,
                                                      III, U.S. Attorney General;
                                                22    HUGH J. HURWITZ, Acting Director,
                                                      Federal Bureau of Prisons,
                                                23    DAVID SHINN, Warden, FCI Victorville
                                                      Medium Security Prison I/II, in their official
                                                24    capacities only,
                                                25                                      Defendants.
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                                                17 themselves and others similarly situated

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                                                 1                                  INTRODUCTION
                                                 2         1.     Shackled at the ankles and wrists, men in orange and brown prison
                                                 3   jumpsuits shuffle from prison buildings to buses, surrounded by chained link
                                                 4   fences and barbed wire in the hot California desert. Inside the prison, they are
                                                 5   confused, despondent, and hungry. They are locked in prison cells for much of
                                                 6   the day and all night. No health care provider has assessed them, asked if they
                                                 7   are suicidal, or attempted to help them cope with the underlying trauma that
                                                 8   drove many of them to seek asylum in this country. In the chow hall, they are
                                                 9   offered inadequate and, at times, inedible food, such as spoiled milk and
                                                10   sandwiches that consist of just two slices of bread. Uniformed corrections
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                                                11   officers rush the men out of the chow hall only minutes after food is served.
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                                                12         2.     Outdoor exercise is limited to only a few hours of fresh air and
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                                                13   sunlight each week. Correctional officers bark orders in English, occasionally
                                                14   in Spanish, even though many of the men speak only French, Punjabi, Mam, or
                                                15   other languages. As if these conditions were not appalling enough, Defendants
                                                16   have stripped from the imprisoned men one of the few things that might bring
                                                17   them some sense of comfort or peace of mind—the ability to freely practice
                                                18   their faith. Defendants fail to provide religious services or consultation with
                                                19   clergy, and they prohibit detainees from engaging in group prayer and
                                                20   congregate worship. They deny detainees halal or kosher meals that comport
                                                21   with their religious needs, forcing many to go hungry. Upon the detainees’
                                                22   detention by the Defendants, Defendants confiscate all religious head covers,
                                                23   jewelry, and other articles of faith, and the detainees are unable to obtain
                                                24   replacements for the items.
                                                25         3.     These conditions, all well documented at the Federal Correctional
                                                26   Institution Medium II (“Victorville”), are constitutionally impermissible when
                                                27   applied to individuals convicted of crimes and sentenced under our nation’s
                                                28   criminal laws. But this lawsuit is not about such individuals. Rather, it is

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                                                 1   about immigrants and refugees who have come to the United States seeking
                                                 2   relief, but have been detained by the Department of Homeland Security
                                                 3   Immigration and Customs Enforcement. Many of these men—refugees from
                                                 4   El Salvador, Honduras, India, Cameroon, and other troubled regions—risked
                                                 5   their lives and those of their families by traveling across continents to avail
                                                 6   themselves of our nation’s asylum and immigration laws. All of them seek a
                                                 7   legal remedy under our nation’s immigration laws.
                                                 8         4.     Since June 8, 2018, Defendants have imprisoned more than 1,000
                                                 9   civil immigration detainees, in violation of their constitutional rights, at
                                                10   Victorville. On that date, with very little notice to the Bureau of Prisons
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                                                11   (“BOP”) and its staff, the Immigration and Customs Enforcement agency
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                                                12   (“ICE”) of the Department of Homeland Security (“DHS”) transferred these
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                                                13   men to Victorville, subjecting them to harsh prison conditions that can only
                                                14   reasonably be described as punitive and inhumane.
                                                15         5.     Immigration detention is a form civil confinement. The law
                                                16   prohibits the government from subjecting this population to punitive
                                                17   incarceration. Moreover, ICE itself has recognized that there are “important
                                                18   distinctions between the characteristics of the Immigration Detention
                                                19   population in ICE custody and the administrative purpose of their detention—
                                                20   which is to hold, process, and prepare individuals for removal [or, as here, to
                                                21   ensure their appearance at future immigration and/or asylum proceedings]—as
                                                22   compared to the punitive purpose of the Criminal Incarceration system.”1 As
                                                23   that same report noted, “[t]he demeanor of the Immigration Detention
                                                24   population is distinct from the Criminal Incarceration population. The majority
                                                25   of the population [detained by ICE] is motivated by the desire for repatriation
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                                                27    Dora Schriro, Immigration Detention Overview and Recommendations at 2
                                                     (Oct. 6, 2009), https://www.ice.gov/doclib/about/offices/odpp/pdf/ice-
                                                28   detention-rpt.pdf (emphasis added).

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                                                 1   or relief, and [they] exercise exceptional restraint.” Id. at 21. Nonetheless, the
                                                 2   ICE detainees at Victorville are being held at a medium-security federal prison
                                                 3   and subjected to policies and practices designed for persons who have been
                                                 4   convicted of crimes. As a result of the unconstitutional treatment of these civil
                                                 5   detainees, many have expressed a desire to be returned, immediately, to their
                                                 6   countries of origin—foregoing their claims for immigration relief altogether—
                                                 7   because they would rather face the dangers back home than be imprisoned in
                                                 8   these abysmal conditions.
                                                 9         6.     Under clearly established law, these men are deprived of their
                                                10   rights to due process of law, which the Fifth Amendment to the U.S.
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                                                11   Constitution guarantees to all persons who are present on our soil, regardless of
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                                                12   citizenship. Plaintiffs and the other detainees are also denied their
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                                                13   constitutional rights guaranteed by the Free Exercise Clause of the First
                                                14   Amendment to the U.S. Constitution, as well as their statutory rights under the
                                                15   Religious Freedom Restoration Act, 42 U.S.C. § 2000bb, et seq. This lawsuit,
                                                16   brought by six class representatives on behalf of all civil immigration detainees
                                                17   who currently are or in the future will be imprisoned at Victorville, respectfully
                                                18   asks this Court to immediately end these terrible injustices.
                                                19         7.     Specifically, Plaintiffs ask the Court to enter an order directing the
                                                20   Defendants, under a strict deadline, to move all ICE immigration detainees
                                                21   from Victorville as quickly as possible. In addition, during the brief period that
                                                22   such plans are being implemented, the Court should order the Defendants
                                                23   immediately to provide Plaintiffs, and the classes they seek to represent,
                                                24   adequate health care, nutrition, out-of-cell time, programming, reading
                                                25   materials, religious diets, religious clothing and jewelry, religious texts,
                                                26   opportunities for prayer and group worship, and other accommodations
                                                27   necessary to practice their religious beliefs.
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                                                 1         8.     Defendants’ actions have inflicted, and continue to inflict,
                                                 2   needless harm and suffering on Plaintiffs. In addition to other constitutional
                                                 3   violations, Defendants systematically and knowingly: (1) fail to provide
                                                 4   minimally adequate health care; (2) fail to provide adequate nutrition;
                                                 5   (3) inhibit detainees’ free exercise of religion by (i) refusing to provide
                                                 6   religious services or other adequate opportunities for group prayer, congregate
                                                 7   worship, or consultation with clergy, (ii) ignoring religious dietary needs,
                                                 8   (iii) severely impeding the possession and wearing of religious headwear,
                                                 9   jewelry, and other religious items, (iv) denying access to religious texts, and
                                                10   (v) otherwise restricting detainees’ ability to practice their religious beliefs; and
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                                                11   (4) confine detainees under conditions that are unnecessarily restrictive and
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                                                12   punitive in nature.
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                                                13                           JURISDICTION AND VENUE
                                                14         9.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
                                                15   § 1331, and 5 U.S.C. § 702.
                                                16         10.    Venue lies in the Central District of California under 28 U.S.C.
                                                17   § 1391 because at least one federal Defendant resides in this District, Plaintiffs
                                                18   are detained in this District, and a substantial part of the events giving rise to
                                                19   the claims in this action took place in this District.
                                                20                                       PARTIES
                                                21         11.    Plaintiff Stephenson Awah Teneng is a civil detainee currently
                                                22   incarcerated at Victorville under the authority of DHS and ICE.
                                                23         12.    Mr. Teneng is an asylum seeker who has been detained at
                                                24   Victorville since June 8, 2018. He has suffered from weeks of unaddressed
                                                25   dental pain, has been unable to access medication or have an appointment with
                                                26   a dentist, and has been unnecessarily and punitively subject to harsh
                                                27   conditions, including being denied food and locked in his prison cell for hours
                                                28   at a time in retaliation for requesting medical care.

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                                                 1          13.    Plaintiff Marcel Ngwa is a civil detainee currently incarcerated at
                                                 2   Victorville under the authority of DHS and ICE.
                                                 3          14.    Mr. Ngwa is an asylum seeker who has been detained at
                                                 4   Victorville since June 8, 2018. He suffers from back pain that has not been
                                                 5   treated. Due to his imprisonment at Victorville, he has suffered from
                                                 6   depression that has not been treated. He has been told that only BOP prisoners
                                                 7   at Victorville, not ICE detainees, can take classes and buy the majority of
                                                 8   products in the commissary. Mr. Ngwa is a Presbyterian whose sincere
                                                 9   religious beliefs counsel him to attend church and seek out consultation with
                                                10   clergy, when needed. During his imprisonment at Victorville, he has been
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                                                11   denied access to church services and has not been able to see any clergy.
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                                                12          15.    Plaintiff Ankush Kumar is a civil detainee currently incarcerated
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                                                13   at Victorville under the authority of DHS and ICE.
                                                14          16.    Mr. Kumar is an asylum seeker has been detained at Victorville
                                                15   since July 16, 2018. Mr. Kumar has a history of kidney stones and has not
                                                16   received adequate medical care while imprisoned in Victorville. After
                                                17   experiencing excruciating pain, his request for emergency medical attention
                                                18   went unmet for hours, until finally he was shackled and taken to a hospital. He
                                                19   has been met with repeated delays in refilling the medication he was prescribed
                                                20   at the hospital.
                                                21          17.    Plaintiff Gurjinder Singh is a civil detainee currently incarcerated
                                                22   at Victorville under the authority of DHS and ICE.
                                                23          18.    Mr. Gurjinder Singh is an asylum seeker who has been detained at
                                                24   Victorville since July 16, 2018. As a practicing Sikh, Mr. Singh’s sincere
                                                25   religious beliefs dictate that his diet must be vegetarian and that he wear and
                                                26   keep with him Sikh religious articles of faith, including a turban and kara (a
                                                27   religious bracelet). During his imprisonment at Victorville, Mr. Singh has been
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                                                 1   denied an adequate vegetarian diet that comports with his Sikh beliefs. His
                                                 2   turban and kara were confiscated by Defendants and not returned or replaced.
                                                 3         19.    Plaintiff Atinder Paul Singh is a civil detainee currently
                                                 4   incarcerated at Victorville under the authority of DHS and ICE.
                                                 5         20.    Mr. Atinder Paul Singh is an asylum seeker who has been
                                                 6   detained at Victorville since June 12, 2018. For the first two weeks he was
                                                 7   incarcerated at Victorville, he wore the same prison uniform without access to
                                                 8   clean clothes or laundry. As an adherent of the Sikh faith, Mr. Singh’s sincere
                                                 9   religious beliefs require him to wear a turban and kara, as well as to follow a
                                                10   vegetarian diet. During his imprisonment, Mr. Singh’s articles of faith were
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                                                11   confiscated by Defendants and not returned or replaced, and he has been
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                                                12   denied an adequate vegetarian diet. As a result, he has lost about 15 pounds
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                                                13   since he was taken into ICE custody.
                                                14         21.    Plaintiff Noe Mauricio Granados Aquino is a civil detainee
                                                15   currently incarcerated at Victorville under the authority of DHS and ICE.
                                                16         22.    Mr. Granados Aquino is an asylum seeker who has been detained
                                                17   at Victorville since approximately July 20, 2018. He suffers from depression,
                                                18   which has been exacerbated by the isolation he experiences at Victorville. Mr.
                                                19   Granados Aquino is a Christian whose sincere religious beliefs counsel him to
                                                20   attend church and read the Bible. During his imprisonment at Victorville, he
                                                21   has been denied access to congregate prayer. Mr. Granados Aquino had a
                                                22   Bible in his backpack when he crossed the border, but Defendants confiscated
                                                23   it, and he has not been able to access a Bible at Victorville.
                                                24         23.    Defendant Donald J. Trump is the President of the United States.
                                                25   He is ultimately responsible for the immigration policies as set out and
                                                26   executed by DHS and BOP. He is responsible for the so-called “zero
                                                27   tolerance” immigration policy that has prompted the unconstitutional
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                                                 1   imprisonment of civil immigration detainees. He is named in his official
                                                 2   capacity.
                                                 3          24.    Kirstjen Nielsen is the Secretary of DHS, an agency of the United
                                                 4   States. Secretary Nielsen is ultimately responsible for the actions of ICE. She
                                                 5   is the legal custodian of immigration detainees incarcerated at the Victorville
                                                 6   prison. She is named in her official capacity.
                                                 7          25.    Defendant Ronald D. Vitiello is the Acting Director of ICE, a
                                                 8   component of DHS. ICE is responsible for apprehension, detention, and
                                                 9   removal of noncitizens from the United States. He is the legal custodian of
                                                10   immigration detainees incarcerated at the Victorville prison. Director Vitiello
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                                                11   is named in his official capacity.
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                                                12          26.    Defendant David Marin is the Field Office Director for the Los
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                                                13   Angeles Field Office of ICE. Director Marin is responsible for the
                                                14   enforcement of the immigration laws within this district, and for ensuring that
                                                15   ICE officials follow the agency’s policies and procedures. He is the legal
                                                16   custodian of immigration detainees incarcerated at the Victorville prison. He is
                                                17   named in his official capacity.
                                                18          27.    Defendant Jefferson Beauregard Sessions III is the Attorney
                                                19   General of the United States and the most senior official in the U.S.
                                                20   Department of Justice (DOJ). The Attorney General is ultimately responsible
                                                21   for the actions of the BOP and for the nation’s enforcement of its immigration
                                                22   and asylum laws. Mr. Sessions has implemented the so-called “zero tolerance”
                                                23   immigration policy of the current presidential administration that has prompted
                                                24   the unconstitutional imprisonment of civil immigration detainees. He is named
                                                25   in his official capacity.
                                                26          28.    Defendant Hugh J. Hurwitz is the Acting Director of BOP. He is
                                                27   responsible for the actions, policies and practices of BOP and for the operation
                                                28   of Victorville. He is named in his official capacity.

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                                                  1          29.       Defendant David Shinn is the Warden of Victorville prison in
                                                  2   Victorville, California. He is the custodian of civil immigration detainees
                                                  3   incarcerated at the Victorville prison. He is named in his official capacity.
                                                  4                              I.   FACTUAL ALLEGATIONS
                                                  5   A.     Victorville is a Medium Security Federal Prison Meant to Imprison
                                                             Persons Who Have Been Convicted of Crimes, Not Civil
                                                  6          Immigration Detainees.
                                                  7          30.       Victorville is a medium security prison operated by BOP.
                                                  8          31.       Victorville was built on the site of a former U.S. Air Force waste
                                                  9   site for radioactive materials, and was declared a Superfund site by the
                                                 10   Environmental Protection Agency. According to published reports, the water
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                                                 11   supply for the prison at Victorville contains toxic materials.2
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                                                 12          32.       Victorville has been recognized as being among the most
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                                                 13   dangerous places for convicted persons in the BOP’s system of medium
                                                 14   security prisons.
                                                 15          33.       Hiring freezes imposed by the federal government have led to
                                                 16   severe understaffing at BOP prisons throughout the country, including
                                                 17   Victorville. Victorville was so critically understaffed that BOP closed down
                                                 18   nine housing units in early 2018 because it could not safely operate with such
                                                 19   limited staff.
                                                 20          34.       As has been widely reported, the present presidential
                                                 21   administration announced a “zero tolerance” policy toward immigrants that has
                                                 22   employed a series of cruel and inhumane tactics—separating families, denying
                                                 23   parole,3 widespread detention of immigrants, including the elderly and long-
                                                 24
                                                      2
                                                        Michael Waters, How Prisons Are Poisoning Their Inmates, The Outline
                                                 25
                                                      (July 23, 2018, 10:40 AM), https://theoutline.com/post/5410/toxic-prisons-
                                                 26   fayette-tacoma-contaminated?zd=1&zi=eeblichf.
                                                      3
                                                 27
                                                        Spencer S. Hsu, U.S. Judge Blocks Trump Crackdown on Asylum Seekers,
                                                      Bars Blanket Detentions of Those With Persecution Claims, Wash. Post (July
                                                 28
                                                      2, 2018) https://www.washingtonpost.com/local/public-safety/us-judge-blocks-
                                                      trump-crackdown-on-asylum-seekers-bars-blanket-detentions-of-those-with-

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                                                  1   time U.S. residents, blocking asylum seekers from ports of entry,4 and
                                                  2   prosecuting immigrants crossing the border—all with the stated objective to
                                                  3   “deter” those fleeing oppressive and life-threatening conditions.
                                                  4         35.    As a result of these practices, the administration has manufactured
                                                  5   a “crisis” of insufficient bed space to detain immigrants. ICE announced, in
                                                  6   early June, that it would begin transferring 1,600 detainees to five federal
                                                  7   prisons in early June 2018, one of which is Victorville.
                                                  8         36.    On June 8, 2018, ICE suddenly began transferring hundreds of
                                                  9   immigration detainees to Victorville. On June 11, 2018, BOP and ICE entered
                                                 10   into a formal Inter-Agency Agreement that has a term of one year, concluding
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                                                 11   on June 8, 2019.
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                                                 12         37.    When the ICE detainees arrived at Victorville, BOP reopened the
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                                                 13   housing units it had previously closed, but failed to hire sufficient additional
                                                 14   staff to address chronic understaffing at the prison and to accommodate the
                                                 15   influx of new detainees. On information and belief, teachers and other civilian
                                                 16   staff at the prison have been reassigned to serve as corrections officers due to
                                                 17   the dire shortages.5
                                                 18   persecution-claims/2018/07/02/cdc707ba-7e36-11e8-b660-
                                                      4d0f9f0351f1_story.html?noredirect=on&utm_term=.8893f444427e; Lydia
                                                 19   Wheeler, Judge Rules DHS Must Give Asylum Seekers Individualized Parole
                                                      Hearings, The Hill (July 2, 2018) http://thehill.com/regulation/395254-judge-
                                                 20   rules-dhs-must-give-asylum-seekers-individualized-parole-hearings.
                                                      4
                                                 21     Robert Moore, At The U.S. Border, Asylum Seekers Fleeing Violence Are
                                                      Told To Come Back Later, Wash. Post, June 8, 2018 (“They have told those
                                                 22   who cross the border illegally and make asylum requests that they will face
                                                      criminal prosecution, but that if they go through the official border crossings,
                                                 23   their applications will be processed. Yet in several cities along the border,
                                                      asylum seekers who follow those instructions are turned away and told to
                                                 24   return later. At some crossings, applicants camp out for days.”); Aaron
                                                      Montes, Try Later: It’s Getting Tougher for Migrants to Claim Asylum at U.S.
                                                 25   Ports of Entry, NBC News (June 23, 2018, 5:00
                                                      AM)https://www.nbcnews.com/storyline/immigration-border-crisis/try-later-it-
                                                 26   s-getting-tougher-migrants-claim-asylum-u-n885861 (reporting that “Customs
                                                      and border protection agents now wait at the port of entry, checking
                                                 27   identification and preventing asylum seekers from stepping into the U.S.”).
                                                      5
                                                        Lauren Gill, As Immigrant Detainees Are Moved to Prisons, What Happens to
                                                 28   the Prisoners?, Rolling Stone, July 3, 2018.

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                                                  1         38.    Prior to June 2018, Victorville housed only criminally convicted
                                                  2   persons. On information and belief, the prison has housed well over 1,000 civil
                                                  3   immigration detainees since June. Some have been detained at Victorville for
                                                  4   nearly two months.
                                                  5         39.    According to the BOP corrections officers’ union, the officers and
                                                  6   staff employed at Victorville are trained under BOP standards and have not
                                                  7   received training under ICE standards.6
                                                  8         40.    Upon their arrival at Victorville, ICE detainees are given
                                                  9   Victorville’s BOP Inmate Handbook. On information and belief, the
                                                 10   Handbook is available only in English and Spanish.
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                                                 11         41.    BOP Policy states that ICE detainees in BOP facilities are to be
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                                                 12   treated as criminal pre-trial detainees.
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                                                 13         42.    Victorville has always operated, and continues to operate, as a
                                                 14   prison that incarcerates people who have been convicted of crimes.
                                                 15   B.    Plaintiffs and Putative Class Members are Denied Minimally
                                                            Adequate Health Care
                                                 16

                                                 17         43.    By policy and practice, Defendants fail to provide minimally
                                                 18   adequate health care to Plaintiffs and other detainees. Detainees receive
                                                 19   minimal or no medical, dental, or mental health screenings upon their arrival at
                                                 20   Victorville. See Ex. 10, E. Berrios Banegas Dec. at ¶ 12 (no dental screening
                                                 21   despite painful toothache); Ex. 15, J. Rodriguez Rivera Dec. at ¶ 5 (no medical,
                                                 22   dental, or mental health screening upon arrival). The lack of screening is
                                                 23   especially dangerous in light of the confirmed outbreaks of chicken pox and
                                                 24

                                                 25
                                                      6
                                                        Samantha Michaels, Understaffed Federal Prison Is Taking in 1,000
                                                 26   Noncriminal Immigrants, and Even the Guards Are Protesting, Mother Jones
                                                      (June 15, 2018) (“Mother Jones Article”),
                                                 27   https://www.motherjones.com/crime-justice/2018/06/understaffed-federal-
                                                      prison-is-taking-in-1000-noncriminal-immigrants-and-even-the-guards-are-
                                                 28   protesting/.

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                                                  1   scabies among the detained population.7 Medical staff provide little
                                                  2   information to detainees about the nature of the screenings they are conducting.
                                                  3   See Ex. 6, N. Granados Aquino Dec. at ¶ 15 (“They didn’t tell us what was in
                                                  4   the injection”); Ex. 2, M. Ngwa Dec. at ¶ 13 (screening was merely an
                                                  5   injection of unknown contents).
                                                  6         44.    Those detainees who have received any sort of health screening
                                                  7   generally have been forced to communicate with medical personnel who speak
                                                  8   only English, without the benefit of a translator, even when the detainee does
                                                  9   not speak English. See Ex. 17, P. Jaimez Bueno Dec. at ¶ 8 (received medical
                                                 10   treatment he did not understand; all services rendered in English). Prison
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                                                 11   medical staff inappropriately rely on detainees who speak English to serve as
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                                                 12   translators for other detainees, even for sensitive medical encounters, in
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                                                 13   violation of state and federal health privacy laws. Plaintiff Antush Kumar saw
                                                 14   a nurse regarding his kidney stones with the assistance of a fellow Punjabi
                                                 15   detainee who is fluent in English and has been compelled to translate for all
                                                 16   Punjabi speakers in medical encounters. Ex. 3, A. Kumar Dec. at ¶ 6. Plaintiff
                                                 17   Ngwa is fluent in English, and acts as a translator for French speaking
                                                 18   detainees. Ex. 2, M. Ngwa Dec. at ¶ 16.; see also Ex. 7, A. Thea Dec. at ¶ 4
                                                 19   (relies on cellmate to translate to French); Ex. 9, M. Escoto Cortez Dec. ¶ 16
                                                 20   (another detainee translated when he saw nurse regarding stomach pain).
                                                 21         45.    Mental health screening is also inadequate. Victorville medical
                                                 22   staff rely on a short, written survey as the only means of mental health
                                                 23   screening. Plaintiff Aquino has “never been asked about [his] mental health in
                                                 24   person” since arriving at Victorville.” Ex. 6, N. Granados Aquino Dec. at ¶ 15.
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                                                      7
                                                 26     Roxana Kopetman, Immigration detainees in Victorville prison get more
                                                      scabies, chicken pox; protesters to gather Saturday, The Orange County
                                                 27   Register (June 29, 2018), https://www.ocregister.com/2018/06/29/immigration-
                                                      inmates-in-victorville-get-more-scabies-chicken-pox-protesters-to-gather-
                                                 28   saturday/.

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                                                  1   When he first arrived at the prison, Mr. Granados Aquino filled out a form, on
                                                  2   which he indicated that he was depressed. Id. at ¶ 16. No one ever followed
                                                  3   up to conduct an assessment or offer him mental health services. Id. See also
                                                  4   Ex. 19, W. Velasquez Ramirez Dec. at ¶ 6 (describing questionnaire used in
                                                  5   lieu of mental health screening). The detainees are required to fill this
                                                  6   screening form out on their own, and on information and belief, it is available
                                                  7   only in English and Spanish. The lack of an adequate mental health screening
                                                  8   process subjects detainees to a substantial risk of needless suffering and harm.
                                                  9         46.    There is inadequate health care staff to meet the needs of the civil
                                                 10   detainees imprisoned at Victorville, resulting in all detainees being at a
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                                                 11   significant risk of serious harm. See n.5, supra (reporting on medical staff
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                                                 12   shortage).
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                                                 13         47.    The sick call process at Victorville is inadequate, resulting in a
                                                 14   significant risk of serious harm. There is no clear process for civil detainees
                                                 15   imprisoned at Victorville to request medical attention other than an emergency
                                                 16   button in their cells. Plaintiff Ngwa has not seen any form to request an
                                                 17   appointment with medical staff. See Ex. 2, M. Ngwa Dec. at ¶ 11–12; Ex. 9,
                                                 18   M. Escoto Cortez Dec. at ¶ 15 (there are no forms to fill out to see medical
                                                 19   staff); Ex. 10, E. Berrios Benegas Dec. ¶ 11 (same); Ex. 11, R. Padilla Flores
                                                 20   Dec. ¶ 6 (same).
                                                 21         48.    Moreover, detainees who try to seek medical help are often
                                                 22   punished by being locked in their cells. Plaintiff Teneng reports that he was
                                                 23   locked in his cell for several hours while other detainees were allowed out in
                                                 24   response to his asking medical staff to care for his tooth pain. Ex. 1, S. Teneng
                                                 25   Dec. at ¶¶ 13-18. As a result, other detainees have been dissuaded from
                                                 26   requesting medical care for their own needs, having witnessed the isolation and
                                                 27   punishment of those who have spoken up. See Ex. 13, R. Kumar Dec. at ¶ 3
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                                                  1   (describing his fear of seeking medical care because of possible punishment
                                                  2   and isolation).
                                                  3         49.    Defendants deny civil detainees access to emergency health care.
                                                  4   Detainees who have pushed the emergency button in their cells have been
                                                  5   denied care. For example, Plaintiff Kumar pushed the button in his cell to
                                                  6   report excruciating pain from a kidney stone. In response, an officer told him
                                                  7   to wait until the next day, and in the meantime, to soak a towel in hot water and
                                                  8   put it over his abdomen. See Ex. 3, A. Kumar Dec. at ¶ 5. Another detainee,
                                                  9   Oscar Colindres Velasquez, witnessed a corrections officer deny medical
                                                 10   attention to a young man who pushed the emergency button when the young
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                                                 11   man’s nose was bleeding. Mr. Colindres Velasquez witnessed the corrections
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                                                 12   officer yell at the man to “deal with it and cut out your bullshit.” See Ex. 8, O.
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                                                 13   Colindres Velasquez Dec. at ¶ 13. A corrections officers told detainee Jexon
                                                 14   Rodriguez Rivera that he “should not touch the call button in [his] cell unless
                                                 15   [he is] dying.” Ex. 15, J. Rodriguez Rivera Dec. at ¶ 24. Roger Padilla Flores
                                                 16   suffers from gastritis, and after he pushed the emergency button in his cell, the
                                                 17   officer told him to wait until “mañana” for treatment, and subsequently an
                                                 18   officer told him “don’t be a dumbass” and instructed him never to push the
                                                 19   button again. Ex. 11, R. Padilla Flores Dec. at ¶¶ 7-8.
                                                 20         50.    Detainees do not have access to necessary medications. Detainees
                                                 21   who have attempted to relate their medical problems to the BOP staff that
                                                 22   disburse prescriptions or to corrections officers at Victorville have been denied
                                                 23   those necessary medications. For example, after experiencing excruciating
                                                 24   pain consistent with his history of kidney stones, Plaintiff Ankush Kumar
                                                 25   waited 18 hours to receive emergency medical attention, when he was finally
                                                 26   taken to the hospital while shackled. See Ex. 3, A. Kumar Dec. at ¶¶ 5-7. He
                                                 27   was not given any medication prior to his emergency, despite his history of
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                                                  1   taking medication in his home country, and has experienced delays getting his
                                                  2   pain medication refilled since returning to Victorville from the hospital.
                                                  3          51.    Another detainee, Jexon Rodriguez Rivera, suffers from chronic
                                                  4   asthma, which he informed staff upon arrival at Victorville. See Ex. 15, J.
                                                  5   Rodriguez Rivera Dec. at ¶¶ 3, 5. Mr. Rodriguez Rivera did not receive an
                                                  6   inhaler or other asthma medicine upon arrival or after informing staff of his
                                                  7   condition. Id. One week after arriving at Victorville, Mr. Rodriguez Rivera
                                                  8   suffered an asthma attack. Id. at ¶ 6. He told corrections officers but they did
                                                  9   nothing. Id. The following day or soon thereafter, he was given an inhaler. Id.
                                                 10   at ¶ 7. The inhaler had only 15 doses left, which ran out about one week later.
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                                                 11   Id. Mr. Rodriguez Rivera requested a new inhaler but did not receive one. Id.
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                                                 12   at ¶ 8. Fear of another asthma attack without an inhaler confined
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                                                 13   Mr. Rodriguez Rivera to his cell the majority of the time while he was detained
                                                 14   at Victorville. Id. at ¶ 9.
                                                 15          52.    As another example, Dervi Garcia Perez was badly injured after
                                                 16   being thrown from a truck during his journey to the U.S. border. See Ex. 20,
                                                 17   D. Garcia Perez Dec. at ¶ 2. While in Border Patrol custody, he was taken to a
                                                 18   hospital, where he was given pain medication. Id. He has not received any
                                                 19   pain medication since his arrival at Victorville. Id. at ¶ 4. Mr. Garcia Perez
                                                 20   has been unable to refill medication for his gastritis since arriving in
                                                 21   Victorville. Id. at ¶ 8. He has no information on the process for requesting
                                                 22   more medication or a doctor’s appointment. Id. at ¶ 9. Similarly, Mr. Thea
                                                 23   suffers from such severe gastritis that it keeps him awake at night and causes
                                                 24   him to feel at times that he cannot breathe. Ex. 7, A. Thea Dec. at ¶¶ 7-8.
                                                 25   Despite multiple requests for medical attention, Mr. Thea has received no
                                                 26   treatment for or medical assessment of his stomach condition. Id. at ¶¶ 7-12.
                                                 27          53.    Marlon Escoto Cortez, after suffering days of stomach pain,
                                                 28   finally saw a nurse, who only took his blood pressure, felt his stomach, and

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                                                  1   joked that perhaps he was pregnant. The nurse did not refer him to a physician.
                                                  2   Neither the nurse nor any other medical staff took any labs, ran any tests, or
                                                  3   made any diagnosis of Mr. Escoto Cortez’s source of pain. See Ex. 9, M.
                                                  4   Escoto Cortez Dec. ¶¶ 15-16.
                                                  5         54.    Many other detainees have experienced similar instances of
                                                  6   having their known medical conditions and needs ignored. For example,
                                                  7   Plaintiff Teneng reports that he complained for nearly a week about a
                                                  8   toothache without receiving any medical treatment. Instead, he was locked in
                                                  9   his cell and threatened with pepper spray if he continued to complain. Ex. 1, S.
                                                 10   Teneng Dec. at ¶ 17. See also Ex. 2, M. Ngwa Dec. at ¶ 13 (Plaintiff reporting
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                                                 11   that medical staff screening for chicken pox “did not want to talk to me about
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                                                 12   my pain”); Ex. 19, W. Velasquez Ramirez at ¶¶ 7–9 (complained of fever,
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                                                 13   cough, and sore throat which persisted for five days, but was told that there
                                                 14   “weren’t any medical consultations unless it was really serious, so [he] could
                                                 15   not have any help”).
                                                 16         55.    Detainees have minimal or no access to mental health services.
                                                 17   For example, Plaintiff Aquino has received no mental health assessment or
                                                 18   services despite expressly indicating upon his arrival to the prison that he was
                                                 19   experiencing depression. Ex. 6, N. Granados Aquino Dec. at ¶¶ 15-16. At one
                                                 20   point, Mr. Granados Aquino told an officer in his housing unit that he felt sad
                                                 21   and depressed; the officer responded, “I can’t help you right now. Maybe
                                                 22   tomorrow.” Id. at ¶11. No one followed up on Mr. Granados Aquino’s request
                                                 23   for help.
                                                 24         56.    Many detainees have suffered severe trauma in their home
                                                 25   countries or on their journey to the United States, and require mental health
                                                 26   treatment as a result. Mr. Rodriguez Rivera reported hearing “men crying in
                                                 27   their beds” at night and observing men in his housing unit “with scars from
                                                 28   cutting themselves due to depression and desperation.” Ex. 15, J. Rodriguez

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                                                  1   Rivera Dec. at ¶¶ 17, 18. Mr. Colindres Velasquez also witnessed a different
                                                  2   young man who had cut himself across his arms and wrists with the blade from
                                                  3   his razor. Ex. 8, O. Colindres Velasquez Dec. at ¶ 14. Prison staff at
                                                  4   Victorville did not remove the young man to receive mental health care or
                                                  5   medical attention for three days. Id.
                                                  6         57.    The punitive and degrading conditions of confinement exacerbate
                                                  7   detainees’ mental health needs. Plaintiff Ngwa feels depressed and sad, but no
                                                  8   health care staff at the prison has asked him whether he is depressed or
                                                  9   suicidal. Ex. 2, M. Ngwa Dec. at ¶¶ 10, 15. Plaintiff Aquino cries “every time
                                                 10   [he is] locked back up” in his cell because he feels “so alone.” Ex. 6, N.
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                                                 11   Granados Aquino Dec. at ¶ 11. With nothing to do, Mr. Granados Aquino
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                                                 12   finds himself ruminating on “my mom, who didn’t know where I was, and my
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                                                 13   loved ones, who I traveled with and who had been separated from me at the
                                                 14   border, and about the horrible things that happened to us that caused us to
                                                 15   come to the U.S.” Id. at 14.
                                                 16         58.    Similarly, Mr. Rodriguez Rivera said he needed to talk to a mental
                                                 17   health professional due to his mounting depression and difficulty coping with
                                                 18   the extreme isolation and idleness at the prison, but did not know whom he
                                                 19   should contact or how to get help. Ex. 15, J. Rodriguez Rivera Dec. at ¶¶ 16,
                                                 20   25. Mr. Diallo reported that while he is locked in his cell with nothing to do
                                                 21   but worry about his family, “my thoughts race and I have difficulty sleeping.
                                                 22   My eyes have gotten red because I don’t really sleep.” Ex. 18, O. Diallo Dec.
                                                 23   at ¶ 3. Mr. Diallo has not received “any counseling or support for [his]
                                                 24   anxiety.” Id. at ¶ 7; see also Ex. 17, P. Jaimez Bueno Dec. at ¶ 16 (“I spent
                                                 25   much of my time being anxious and worrying about the safety of my family
                                                 26   numbers. As a result, I have not slept at all in the past three nights.”)
                                                 27         59.    In lieu of a meaningful assessment, detainees are given a written
                                                 28   form to fill out regarding their mental health. See Ex. 19, W. Velasquez

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                                                  1   Ramirez Dec. at ¶ 6; Ex. 6, N. Granados Aquino Dec. at ¶ 15. The form is only
                                                  2   available in English and Spanish. Upon information and belief, this is BOP
                                                  3   Standard P5310.017,8 which is used for screenings of all criminal pre-trial
                                                  4   inmates in BOP custody.
                                                  5         60.    Defendants’ conduct vis-à-vis the Plaintiffs and the other
                                                  6   detainees does not comply with either ICE or the BOP’s written policies.
                                                  7   C.    Plaintiffs Are Denied Adequate Nutrition
                                                  8         61.    Defendants routinely and systematically deny Plaintiffs and other
                                                  9   detainees adequate nutrition and adequate time to eat even the substandard
                                                 10   food they are provided.
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                                                 11         62.    Upon their arrival at Victorville, Plaintiffs and other detainees
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                                                 12   were on lockdown for two or three days and received all of their meals in their
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                                                 13   cells. These meals were insufficient and regularly consisted of a sandwich and
                                                 14   nothing else. The sandwiches the Plaintiffs were provided were sometimes
                                                 15   frozen in the middle. Upon their initial arrival, detainees who are vegetarians
                                                 16   for religious reasons were given meals with meat in them, with no alternatives.
                                                 17   Ex. 5, G. Singh Dec. ¶ 7.
                                                 18         63.    When not on lockdown, the civil detainees imprisoned at
                                                 19   Victorville receive their meals in the chow hall. These meals are small,
                                                 20   inadequate, and of poor nutritional value, and frequently do not contain meat or
                                                 21   any other sufficient source of protein. See Ex. 15, J. Rodriguez Rivera Dec.
                                                 22   at ¶ 21 (“Some days we receive sandwiches with nothing in them—just two
                                                 23   pieces of bread.”); see also Ex. 10, E. Berrios Banegas Dec. at ¶ 8
                                                 24   (complaining of inadequate food and being hungry an hour and a half after
                                                 25   dinner); Ex. 8, O. Colindres Velasquez Dec. at ¶ 15 (complaining of inadequate
                                                 26   food). Detainees who are vegetarians for religious reasons, like Plaintiff G.
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                                                       BOP Standard P5310.017, Psychology Services Manual, p. 14,
                                                 28   https://www.bop.gov/policy/progstat/5310_017.pdf.

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                                                  1   Singh, are often offered nothing but two pieces of bread for lunch, and green
                                                  2   beans and rice for dinner. See Ex. 5, G. Singh Dec. ¶ 8.
                                                  3         64.    Plaintiffs and other detainees imprisoned at Victorville have lost
                                                  4   weight due to inadequate food. Plaintiff Atinder Paul Singh reports that since
                                                  5   he arrived in mid-June, he has lost approximately 15 pounds due to the
                                                  6   inadequate amount of food, especially for detainees who adhere to a vegetarian
                                                  7   diet for religious reasons. Ex. 4, A.P. Singh Dec. ¶ 11. See also Ex. 8, O.
                                                  8   Colindres Velasquez Dec. at ¶ 15 (10 to 15 pounds lost; “you can see the bones
                                                  9   sticking out of my wrists that you couldn’t see before”); Ex. 11, R. Padilla
                                                 10   Flores Dec. at ¶ 5 (10 pounds of weight loss); Ex. 10, E. Berrios Banegas Dec.
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                                                 11   at ¶ 8 (5 to 10 pounds lost); Ex. 15, J. Rodriguez Rivera Dec. at ¶ 22.
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                                                 12         65.    Defendants sometimes serve Plaintiffs food that is inedible. See
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                                                 13   Ex. 9, M. Escoto Cortez Dec. at ¶ 10 (“I have seen what looks like worms or
                                                 14   maggots in the meat;” complaining of stomach problems and blood in his stool
                                                 15   since arriving at Victorville); Ex. 8, O. Colindres Velasquez Dec. at ¶ 17 (milk
                                                 16   is “often sour and you can’t drink it or you will get sick”); Ex. 15, J. Rodriguez
                                                 17   Rivera Dec. at ¶ 21 (“Many mornings, we receive spoiled milk at breakfast.”);
                                                 18   Ex. 10, E. Berrios Banegas Dec. at ¶ 8 (“Sometimes the meat tastes expired.”).
                                                 19         66.    Defendants allow Plaintiffs and other detainees only minutes to
                                                 20   eat each meal, and throw away any uneaten food. Plaintiff Aquino reports that
                                                 21   minutes after sitting down in the chow hall, guards yell at the detainees that
                                                 22   they have “only two minutes left” to eat. Ex. 6, N. Granados Aquino Dec. at
                                                 23   ¶ 20. Mr. Thea reports that detainees are permitted to remain in the chow hall
                                                 24   for no more than five minutes at meal times. Ex. 7, A. Thea Dec. at ¶ 5. See
                                                 25   also Ex. 17, P. Jaimez Bueno Dec. at ¶ 12 (detainees are given three or four
                                                 26   minutes to eat, after which uneaten food is confiscated and thrown away);
                                                 27   Ex. 8, O. Colindres Velasquez Dec. at ¶ 15 (detainees are given approximately
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                                                  1   five minutes before corrections officers start rushing them out); Ex. 10, E.
                                                  2   Berrios Banegas Dec. at ¶ 8 (“We are only given 3 to 5 minutes to eat.”).
                                                  3         67.    Detainees are not permitted to take any uneaten food out of the
                                                  4   chow hall. See Ex. 6, N. Granados Aquino Dec. at ¶ 21 (“I saw an official
                                                  5   force another detainee to throw away a piece of bread he had put in his pocket
                                                  6   when we were leaving the chow hall . . .”); Ex. 8, O. Colindres Velasquez Dec.
                                                  7   at ¶ 15 (detainees are not permitted to take even an apple from the chow hall).
                                                  8         68.    Until very recently, Plaintiffs and other detainees were denied
                                                  9   access to commissary to supplement their meals, so they had no access to food
                                                 10   between dinner and the next day’s breakfast. The detainees are not permitted
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                                                 11   to purchase all of the food products available in the commissary. For example,
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                                                 12   Plaintiff Ngwa was told that only prisoners could purchase certain food items.
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                                                 13   Many detainees are indigent and so cannot buy food from the commissary.
                                                 14         69.    Defendants’ conduct vis-à-vis the Plaintiffs and the other
                                                 15   detainees does not comply with either ICE or the BOP’s written policies.
                                                 16   D.    Plaintiffs and Members of the Putative Subclass Are Denied the
                                                            Right to Freely Exercise their Religious Beliefs
                                                 17

                                                 18         70.    Plaintiffs Atinder Paul Singh and Gurjander Singh are adherents

                                                 19   of the Sikh faith. Plaintiff Marcel Ngwa is a Presbyterian. Plaintiff Noe

                                                 20   Mauricio Granados Aquino is a Christian. These Plaintiffs and other religious

                                                 21   detainees, who include Muslims, Catholics, and Hindus, are unable to freely

                                                 22   practice their religious beliefs due to restrictions imposed by Defendants, as

                                                 23   well as by Defendants’ failure to accommodate their religious beliefs.

                                                 24         71.    Defendants have refused to provide, or make available, any

                                                 25   religious services to Plaintiffs or the other detainees of faith at Victorville, and

                                                 26   they have refused to provide other adequate opportunities for detainees to

                                                 27   engage in congregate worship or group prayer. By policy, detainees are

                                                 28   restricted to their cells to practice religious activities. For example, Plaintiff


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                                                  1   Aquino, a Christian, reports that a correctional officer denied detainees’
                                                  2   requests to meet as a group to pray, sing, and preach. Ex. 6, N. Granados
                                                  3   Aquino Dec. at ¶ 23. Similarly, Mr. Ngwa reports that there are no church
                                                  4   services for detainees. Ex. 2, M. Ngwa Dec. at ¶ 9. Vakil Singh, a Hindu,
                                                  5   reports the same regarding Hindu religious services. Ex. 14, V. Singh Dec. at
                                                  6   ¶ 12. Sarvejeet Singh, a Sikh, likewise complains that no Sikh religious
                                                  7   services are provided. Ex. 12, S. Singh Dec. ¶ 7. Mr. Thea, a practicing
                                                  8   Catholic, has no opportunity to attend Catholic services or consult with a priest.
                                                  9   Ex. 7, A. Thea Dec. at ¶ 13. Detainee Marlon Escoto Cortez attempted to hold
                                                 10   a Bible study group with about 15 other detainees in a common area of his
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                                                 11   building. They were told by an officer to stop praying, and they did not have
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                                                 12   the right to assemble or pray. Ex. 9, M. Escoto Cortez Dec. ¶ 9. Mr. O. Diallo,
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                                                 13   a practicing Muslim, is forced to complete his prayers on the floor of his cell
                                                 14   and has no access to an Imam or group services. Ex. 18, O. Diallo Dec. at ¶ 2.
                                                 15         72.    Defendants confiscated from Plaintiffs and the other detainees
                                                 16   imprisoned at Victorville all religious headwear, jewelry, and other religious
                                                 17   items. The detainees have been unable to replace those items. Plaintiffs
                                                 18   Gurjinder Singh and Atinder Paul Singh have both had their turbans and kara
                                                 19   bracelets confiscated. Atinder Paul Singh has made repeated requests for a
                                                 20   head covering and was told it was not allowed. See Ex. 4, A.P. Singh Dec. at
                                                 21   ¶ 9; Ex. 5, G. Singh Dec. at ¶ 6 (in response to multiple requests, was told
                                                 22   “[turban and kara] are in [his] personal property”); see also Ex. 12, S. Singh
                                                 23   Dec. at ¶ 4-9 (Sikh religious headwear and bracelet taken away).
                                                 24         73.    Plaintiffs and other detainees are also denied access to religious
                                                 25   texts. Plaintiff Aquino reported that “I had a Bible in my backpack when I
                                                 26   crossed the border. I have asked to have it back but was told I couldn’t. I have
                                                 27   seen other detainees ask for Bibles, and they were told there weren’t any in
                                                 28   Spanish.” Ex. 6, N. Granados Aquino at ¶¶ 24-25. See also Ex. 18, O. Diallo

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                                                  1   Dec. at ¶ 3; Ex. 15, J. Rodriguez Rivera Dec. at ¶ 15 (in response to multiple
                                                  2   requests for a Bible, detainee told “there are no Bibles here.”).
                                                  3         74.    Some Sikh detainees, including Plaintiff A.P. Singh, were told
                                                  4   that they could purchase religious head coverings for $10 at the commissary.
                                                  5   See Ex. 4, A.P. Singh Dec. at ¶ 10. Not all of the detainees have money on
                                                  6   their books to be able to purchase their covering. None of the detainees has
                                                  7   received a head covering. Id.
                                                  8         75.    Plaintiffs and other detainees are not offered diets that comport
                                                  9   with their religious beliefs. Vegetarian meals offered to members of the Sikh
                                                 10   faith are woefully inadequate nutritionally. Plaintiffs G. Singh and A.P. Singh
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                                                 11   and other practicing Sikhs have been forced to go hungry to avoid food that
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                                                 12   violates their religious beliefs. See Ex. 5, G. Singh Dec. ¶ 7; Ex. 4, A.P. Singh
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                                                 13   Dec. ¶ 11.
                                                 14         76.    Plaintiffs and the other detainees hold sincere religious beliefs that
                                                 15   counsel them to engage in a variety of religious practices including the
                                                 16   attendance of worship services, participation in congregate worship and group
                                                 17   prayer, and consultation with clergy and religious leaders; the consumption of a
                                                 18   religiously mandated diet; the wearing of religious headgear and jewelry; the
                                                 19   use of other religious items; and the reading and study of religious texts.
                                                 20         77.    Defendants’ refusal to provide detainees with religious services
                                                 21   and clergy access, and their refusal to meet detainees’ religious dietary needs,
                                                 22   as well as their restrictions on religious items and texts, severely impede or
                                                 23   outright prevent Plaintiffs and the other detainees from practicing these
                                                 24   sincerely held religious beliefs and force them to violate their religious beliefs
                                                 25   in many instances. Plaintiffs’ and the other detainees’ inability to freely
                                                 26   practice these religious beliefs has been—and continues to be—a cause of
                                                 27   immeasurable distress for them.
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                                                  1         78.      Defendants’ conduct vis-à-vis the Plaintiffs’ and the other
                                                  2   detainees’ religious practices does not comply with either ICE or the BOP’s
                                                  3   written policies, which expressly permit the very sort of religious practices that
                                                  4   detainees seek to engage in here.
                                                  5   E.    The Conditions at Victorville are Unnecessarily Restrictive and
                                                            Punitive
                                                  6

                                                  7         79.      Plaintiffs and other detainees are subjected to conditions at
                                                  8   Victorville that are unnecessarily restrictive to fulfill the government’s
                                                  9   purported objectives of ensuring that immigrants appear at future immigration
                                                 10   proceedings.
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                                                 11         80.      Upon transferring Plaintiffs and other detainees to Victorville,
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                                                 12   Defendants maintained a 24-hour lockdown for three or more days, during
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                                                 13   which time Plaintiffs were not allowed to leave their cells for any reason,
                                                 14   including exercise, free time, telephone calls, religious services, personal or
                                                 15   attorney visits, meals, or showers. See Ex. 4, A.P. Singh Dec. ¶ 8 (Plaintiff
                                                 16   was not allowed to make a phone call for the first week he was at Victorville);
                                                 17   Ex. 5, G. Singh ¶ 7 (Plaintiff was kept in his cell the first few days after he
                                                 18   arrived); Ex. 17, P. Jaimez Bueno Dec. at ¶ 7 (“I spent the first three or four
                                                 19   days in FCI-II Victorville locked in my cell.”); Ex. 11, R. Padilla Flores Dec. at
                                                 20   ¶ 3 (“The first three days I was here, we were constantly locked in our cells 24-
                                                 21   hours a day.”); Ex. 8, O. Colindres Velasquez Dec. at ¶ 16 (describing lock
                                                 22   down “for about four days without clean clothes or showers”).
                                                 23         81.      Victorville was so unprepared for the influx of detainees in June
                                                 24   that Defendants issued to the men only one set of clothing upon their arrival at
                                                 25   Victorville. Defendants did not issue another set of clean clothing, including
                                                 26   clean undergarments, to detainees for approximately the first two to three
                                                 27   weeks the detainees were at the prison. Plaintiff Atinder Paul Singh, who
                                                 28   arrived at Victorville in June soon after detainees were sent to the prison,

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                                                  1   reports that he went for 15 days with one prison uniform before he was
                                                  2   provided a new one, and he had to wash the uniform in the sink in his cell.
                                                  3   Ex. 4, A.P. Singh Dec. ¶ 3. Mr. Rodriguez Rivera reported that for over a
                                                  4   month, he washed his prison jumpsuit with hand soap in the toilet in his cell
                                                  5   because of the lack of clean clothing or laundry services. The only clean
                                                  6   jumpsuit offered to Mr. Rodriguez Rivera was size 8X—so large that he could
                                                  7   not move while wearing it. See Ex. 15, J. Rodriguez Rivera Dec. at ¶ 23. See
                                                  8   also Ex. 10, E. Berrios Banegas Dec. at ¶ 9 (had only one set of clothing for
                                                  9   three weeks); Ex. 9, M. Escoto Cortez Dec. at ¶ 11 (same); Ex. 17, P. Jaimez
                                                 10   Bueno Dec. at ¶ 11 (same).
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                                                 11         82.    Plaintiffs’ time outside of their prison cells is extremely limited.
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                                                 12   The prison provides, at most, a few hours per week of outdoor exercise time;
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                                                 13   this time is not regularly scheduled and is sometimes canceled. See Ex. 10, E.
                                                 14   Berrios Banegas Dec. at ¶ 4; Ex. 17, P. Jaimez Bueno Dec. at ¶ 10 (describing
                                                 15   outdoor exercise as one or two hours per week); Ex. 15, J. Rodriguez Rivera
                                                 16   Dec. at ¶ 20 (describing outdoor exercise as once per week for 40 minutes).
                                                 17         83.    The amount of time that Plaintiffs are permitted to spend in indoor
                                                 18   common areas is also severely limited. Defendants require Plaintiffs and other
                                                 19   immigration detainees to be locked in their cells whenever the prison’s general
                                                 20   population of prisoners are being moved throughout the facility, resulting in
                                                 21   several hours of lockdown each day that Plaintiffs would not experience if they
                                                 22   were not being imprisoned in the same facility as prisoners. See Ex. 10, E.
                                                 23   Berrios Banegas Dec. at ¶ 5 (describing extremely limited out of cell time);
                                                 24   Ex. 9, M. Escoto Cortez Dec. at ¶ 6 (same); Ex. 11, R. Padilla Flores Dec. at
                                                 25   ¶ 3 (lockdown 24 hours per day on weekends for the first month at Victorville).
                                                 26         84.    From June 8 through July 13, 2018, there were no clocks
                                                 27   anywhere in the cell blocks in which the Plaintiffs and other civil detainees are
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                                                  1   imprisoned. As a result, they had no way to tell the time of day or to mark the
                                                  2   passage of time, which added to their sensory deprivation and disorientation.
                                                  3         85.    Detainees have no access to educational or other programming,
                                                  4   work opportunities, or even reading materials in languages they understand.
                                                  5   For example, Plaintiff Atinder Paul Singh reports that there are no books in his
                                                  6   building in a language he can understand. Ex. 4, A.P. Singh Dec. at ¶ 7.
                                                  7   Mr. Rodriguez Rivera was detained alone in a small cell, with no radio or
                                                  8   television. There was one TV in the common space of his housing unit, which
                                                  9   he could see through the door of his cell, but the television was muted
                                                 10   throughout the day. Mr. Rodriguez Rivera was unable even to access a book in
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                                                 11   Spanish for over a month, despite his repeated requests. Ex. 15, J. Rodriguez
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                                                 12   Rivera Dec. at ¶ 14.
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                                                 13         86.    Plaintiff Marcel Ngwa read in the Inmate Handbook he was given
                                                 14   upon arrival at Victorville the list of classes available at the prison. When he
                                                 15   asked whether he could take any of the classes listed there to improve his
                                                 16   reading and writing, ICE officials responded, “sorry, [you] couldn’t.” Ex. 2,
                                                 17   M. Ngwa Dec. at ¶ 8. On information and belief, these programs are available
                                                 18   only to inmates at Victorville and not to ICE detainees.
                                                 19         87.    The Plaintiffs and other civil detainees are forced to wear prison
                                                 20   uniforms, and when they are transported to or from Victorville, they are
                                                 21   shackled like convicted prisoners. Their hands are cuffed to belly chains, and
                                                 22   they wear ankle shackles that connect their feet via a short chain that severely
                                                 23   limits their ability to walk normally. Plaintiff Aquino reports that “[w]hen I
                                                 24   was moved to Victorville, I was shackled. I had handcuffs on my wrists and
                                                 25   they were tied to a belly chain. I also had a chain between my ankles and cuffs
                                                 26   around my ankles. The ankle cuffs cut my skin. . . . We were shackled for
                                                 27   the whole bus ride, which was 4 or 5 hours long. I have never been chained
                                                 28   like that in my life.” Ex. 6, N. Granados Aquino Dec. at ¶ 5.

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                                                  1         88.    Upon his arrival at Victorville, Plaintiff Aquino was informed by
                                                  2   an officer that “the more food you ask for, the less we’re going to give you.
                                                  3   The more you ask us to let you out, the less we’re going to.” Id. at 6. Mr.
                                                  4   Granados Aquino was still shackled at the time. Id. Correctional officers at
                                                  5   Victorville informed Plaintiff Teneng that “the rules at a federal prison are
                                                  6   stricter than a jail.” Ex. 1, S. Teneng Dec. at ¶ 7.
                                                  7         89.    When he was suffering excruciating pain from a kidney stone,
                                                  8   Plaintiff Antush Kumar was transported to the hospital in full shackles. While
                                                  9   at the local hospital receiving treatment, he was chained to the hospital bed
                                                 10   despite the lack of any indicia that he was a threat to any others in the hospital.
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                                                 11   Ex. 3, A. Kumar Dec. ¶¶ 7-8.
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                                                 12         90.    As a result of the many hours of imprisonment in cells, with no
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                                                 13   reading material, no religious or other programming, and virtually no
                                                 14   information about the processing of their immigration and/or asylum
                                                 15   proceedings, Plaintiffs and other ICE detainees are suffering from anxiety, fear,
                                                 16   apprehension, enforced idleness, fatigue, and, in many instances, depression,
                                                 17   including suicidal ideation.
                                                 18         91.    Faced with harsh, punitive conditions, some detainees have been
                                                 19   coerced into abandoning their immigration claims and returning to their home
                                                 20   countries rather than remain incarcerated at Victorville. Emerson Berrios
                                                 21   Banegas, who had planned to seek asylum, reported, “I signed papers agreeing
                                                 22   to be deported. I do not want to go back but I signed the papers because I do
                                                 23   not like being treated like a criminal prisoner.” See Ex. 10, E. Berrios Banegas
                                                 24   Dec. at ¶ 3. Detainees who came to this country to exercise their right to seek
                                                 25   asylum have expressed shock at the conditions of their confinement. Plaintiff
                                                 26   Teneng said, “I didn’t expect to be sent to prison. I came here as an asylum
                                                 27   seeker, seeking liberty.” Ex. 1, S. Teneng Dec. at ¶ 17. Similarly, Mr. Diallo
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                                                  1   said, “I don’t understand why I am being held in a prison since I am just an
                                                  2   immigrant asking for asylum.” Ex. 18, O. Diallo Dec. at ¶ 10
                                                  3         92.    Plaintiffs are detained ostensibly to ensure their appearance at
                                                  4   immigration proceedings, but detainees report that they have not spoken to ICE
                                                  5   officials regarding their cases. Plaintiff Aquino reports that he has been unable
                                                  6   to access information about his immigration case. Ex. 6, N. Granados Aquino
                                                  7   Dec. at ¶ 19. Detainees have been told that their immigration cases will not
                                                  8   proceed until they are moved to an immigration detention center, such as the
                                                  9   nearby Adelanto facility. ICE agents told Mr. Granados Aquino “to think of
                                                 10   Victorville like a hotel.” Id.
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                                                 11         93.    These individuals are not being detained because they stand
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                                                 12   accused of a crime, much less convicted of one. Yet the conditions under
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                                                 13   which these civil detainees are being imprisoned are no better than, and in
                                                 14   some instances worse than, the conditions to which the population of convicted
                                                 15   prisoners at Victorville is subjected.
                                                 16         94.    On information and belief, ICE routinely detains immigrants in
                                                 17   conditions that are far less restrictive and punitive than those at Victorville.
                                                 18   The conditions to which Defendants are subjecting Plaintiffs and other
                                                 19   detainees violate their own standards applicable at other facilities where ICE
                                                 20   detainees are held.
                                                 21         95.    Significantly less restrictive and more humane means exist of
                                                 22   ensuring civil detainees’ appearance at immigration proceedings. For example,
                                                 23   Defendants offer to some individuals the opportunity to parole into the United
                                                 24   States on their own recognizance. Additionally, Defendants maintain a bond
                                                 25   system whereby individuals may be released upon posting a cash bond as low
                                                 26   as $1,500. Some released individuals are required to wear a GPS-enabled
                                                 27   ankle monitoring device while others are not.
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                                                  1         96.    The conditions of confinement at Victorville, and the very
                                                  2   deprivation of the Plaintiffs’ liberty, are excessive in relation to, and not
                                                  3   reasonably related to, the legitimate objective of ensuring Plaintiffs’ and other
                                                  4   detainees’ appearances at future immigration proceedings.
                                                  5         97.    The BOP’s Program Statement on Religious Beliefs and Practices,
                                                  6   Victorville USP’s Inmate Handbook, and ICE’s Religious Practices and Policy
                                                  7   all represent less restrictive means that could be used by Defendants.
                                                  8                             II.   INJUNCTIVE RELIEF
                                                  9         98.    Plaintiffs re-allege and incorporate by reference paragraphs 1-97
                                                 10   of this Complaint as if fully set out herein.
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                                                 11         99.    Plaintiffs and the putative class are entitled to preliminary and
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                                                 12   permanent injunctive relief.
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                                                 13         100. Defendants have acted, and threaten to act, to deprive Plaintiffs,
                                                 14   and the others they seek to represent, of their constitutional and statutory rights.
                                                 15         101. Plaintiffs and those similarly situated have suffered irreparable
                                                 16   physical and psychological injury and the loss of fundamental due-process and
                                                 17   religious-exercise rights. They have been and will continue to be subjected to
                                                 18   serious risk of irreparable harm as the result of imprisonment at Victorville.
                                                 19         102. Defendants have been and are aware of the conditions and
                                                 20   deprivations complained of herein. In the alternative, Defendants have acted
                                                 21   with deliberate indifference regarding the conduct and conditions described
                                                 22   herein.
                                                 23         103. Plaintiffs and putative class members have no plain, adequate, or
                                                 24   speedy remedy at law.
                                                 25                     III.   CLASS ACTION ALLEGATIONS
                                                 26         104. Plaintiffs re-allege and incorporate by reference paragraphs 1-103
                                                 27   of this Complaint as if fully set out herein.
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                                                  1         105. Plaintiffs Stephenson Awah Teneng, Marcel Ngwa, Ankush
                                                  2   Kumar, Gurjinder Singh, Atinder Paul Singh, and Noe Mauricio Granados
                                                  3   Aquino bring this action on behalf of themselves and all other persons who are
                                                  4   similarly situated, pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(1),
                                                  5   and 23(b)(2), and in compliance with Local Rule 23-3.
                                                  6         106. With respect to the First Claim herein, Plaintiffs seek to represent
                                                  7   a class (the “Civil Detainee Class”) consisting of: “All persons who are now,
                                                  8   or in the future will be, in the legal custody of the U.S. Immigrations and
                                                  9   Customs Enforcement (‘ICE’) and housed at Federal Correctional Institution
                                                 10   (‘FCI’) Victorville.”
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                                                 11         107. There are multiple questions of law and fact common to the
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                                                 12   putative Civil Detainee Class, including:
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                                                 13            a. The sufficiency of access to medical and mental health care for
                                                 14                civil detainees at Victorville;
                                                 15            b. The sufficiency of access to adequate nutrition for civil detainees
                                                 16                at Victorville;
                                                 17            c. Whether the conditions at Victorville are unnecessarily restrictive
                                                 18                and/or punitive;
                                                 19            d. Whether civil detainees at Victorville are confined in conditions
                                                 20                similar to, or more restrictive than, persons convicted of criminal
                                                 21                offenses; and
                                                 22            e. Whether deprivation of the aforementioned results in
                                                 23                constitutional or statutory violations.
                                                 24         108. The putative Civil Detainee Class is so numerous that joinder of
                                                 25   all members would be impracticable. There are currently approximately 1,000
                                                 26   civil detainees imprisoned at Victorville. The putative Civil Detainee Class is
                                                 27   fluid, with detainees arriving at and leaving Victorville every day, making
                                                 28   joinder of all members not just impracticable but impossible.

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                                                  1          109. Prosecution of separate actions by individual class members
                                                  2   would create a risk of inconsistent or varying adjudications with respect to
                                                  3   individual class members that would establish incompatible standards of
                                                  4   conduct for defendants, or adjudications with respect to individual class
                                                  5   members that, as a practical matter, would be dispositive of the interests of
                                                  6   other members not parties to the individual adjudications or would
                                                  7   substantially impair their ability to protect their interests.
                                                  8          110. The claims of the Plaintiffs are typical of the claims of the
                                                  9   putative Civil Detainee Class. Each of the Plaintiffs, like all putative class
                                                 10   members in the Civil Detainee Class, is a civil detainee at Victorville, subject
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                                                 11   to the same conditions of confinement challenged here. The claims of the
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                                                 12   Plaintiffs arise from the same policies, practices, and courses of conduct, and
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                                                 13   their claims are based on the same theory of law as the Civil Detainee Class’s
                                                 14   claims are.
                                                 15          111. All of the Plaintiffs will fairly and adequately represent the
                                                 16   interests of all members of the putative Civil Detainee Class because they seek
                                                 17   relief on behalf of the class they represent as a whole and have no interest
                                                 18   antagonistic to other members of the class. The plaintiffs are represented by
                                                 19   counsel from the Prison Law Office; the Civil Rights Education and
                                                 20   Enforcement Center; and the American Civil Liberties Union (“ACLU”)
                                                 21   National Prison Project and ACLU Program on Freedom of Religion and
                                                 22   Belief. Counsel are experienced in class action, complex litigation, detention
                                                 23   and prisoners’ rights litigation, religious liberty law, and constitutional law
                                                 24   generally.
                                                 25   Religious Freedom Subclass
                                                 26          112. With respect to the Second and Third Claims herein, Plaintiffs
                                                 27   Marcel Ngwa, Atinder Paul Singh, Gurjinder Singh, and Noe Mauricio
                                                 28   Granados Aquino further seek to represent a subclass (the “Religious Freedom

                                                                                                  29
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                                                  1   Subclass”) consisting of: “All religious persons who are now, or in the future
                                                  2   will be, in the legal custody of ICE and housed at FCI Victorville, and whose
                                                  3   ability to practice their religious beliefs is or would be impeded or substantially
                                                  4   burdened by Defendants’ policies and practices.”
                                                  5         113. There are multiple questions of law and fact common to the
                                                  6   putative Religious Freedom Subclass, including:
                                                  7                    a. The sufficiency of access to religious services or other
                                                  8                       adequate opportunities for group prayer, congregate
                                                  9                       worship, or consultation with clergy for civil detainees at
                                                 10                       Victorville;
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                                                 11                    b. The sufficiency of access to meals that comport with
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                                                 12                       detainees’ religious beliefs for civil detainees at Victorville;
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                                                 13                    c. The sufficiency of access to the possession and wearing of
                                                 14                       religious headwear, jewelry, and other religious items for
                                                 15                       civil detainees at Victorville;
                                                 16                    d. The sufficiency of access to religious texts for civil
                                                 17                       detainees at Victorville;
                                                 18                    e. Whether deprivation of the aforementioned impermissibly
                                                 19                       infringes on detainees’ religious exercise; and
                                                 20                    f. Whether deprivation of the aforementioned results in
                                                 21                       constitutional or statutory violations.
                                                 22         114. The putative Religious Freedom Subclass is so numerous that
                                                 23   joinder of all members would be impracticable. The precise number of the
                                                 24   subclass is difficult to ascertain, as Defendants do not track or report detainees’
                                                 25   religious beliefs, but upon information and belief, Plaintiffs estimate that it is at
                                                 26   least 150. Moreover, the putative Religious Freedom Subclass is fluid, with
                                                 27   detainees arriving at and leaving Victorville every day, making joinder of all
                                                 28   members not just impracticable but impossible.

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                                                  1          115. Prosecution of separate actions by individual class members
                                                  2   would create a risk of inconsistent or varying adjudications with respect to
                                                  3   individual class members that would establish incompatible standards of
                                                  4   conduct for defendants, or adjudications with respect to individual class
                                                  5   members that, as a practical matter, would be dispositive of the interests of
                                                  6   other members not parties to the individual adjudications or would
                                                  7   substantially impair their ability to protect their interests.
                                                  8          116. The claims of Plaintiffs Marcel Ngwa, Atinder Paul Singh,
                                                  9   Gurjinder Singh, and Noe Mauricio Granados Aquino are typical of the claims
                                                 10   of the putative Religious Freedom Subclass, since their claims arise from the
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                                                 11   same policies, practices, and courses of conduct, and their claims are based on
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                                                 12   the same theory of law as the Religious Freedom Subclass’s claims are.
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                                                 13          117. Plaintiffs Marcel Ngwa, Atinder Paul Singh, Gurjinder Singh, and
                                                 14   Noe Mauricio Granados Aquino will fairly and adequately represent the
                                                 15   interests of all members of the putative Religious Freedom Subclass because
                                                 16   they seek relief on behalf of the class they represent as a whole and have no
                                                 17   interest antagonistic to other members of the class. The plaintiffs are
                                                 18   represented by counsel from the Prison Law Office; the Civil Rights Education
                                                 19   and Enforcement Center; and the American Civil Liberties Union (“ACLU”)
                                                 20   National Prison Project and ACLU Program on Freedom of Religion and
                                                 21   Belief. Counsel are experienced in class action, complex litigation, detention
                                                 22   and prisoners’ rights litigation, religious liberty law, and constitutional law
                                                 23   generally.
                                                 24                            IV.    CLAIMS FOR RELIEF
                                                 25                                   FIRST CLAIM
                                                             (Violation of the Due Process Clause of the Fifth Amendment
                                                 26                         to the United States Constitution)
                                                 27          118. Plaintiffs re-allege and incorporate by reference paragraphs 1-116
                                                 28   of this Complaint as if fully set out herein.

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                                                  1         119. Due process prohibits the use of detention as a means of punishing
                                                  2   civil detainees. Zadvydas v. Davis, 533 U.S. 678, 690-91 (2001)
                                                  3   (acknowledging that immigration detention is civil); Jones v. Blanas, 393 F.3d
                                                  4   918, 932 (9th Cir. 2004); King v. County of Los Angeles, 885 F.3d 548 (9th Cir.
                                                  5   2018).
                                                  6         120. As the United States Court of Appeals for the Ninth Circuit has
                                                  7   held, “[A civil] detainee is entitled to ‘more considerate treatment’ than his
                                                  8   criminally detained counterparts. . . . Therefore, when a [civil] detainee is
                                                  9   confined in conditions identical to, similar to, or more restrictive than those in
                                                 10   which criminal counterparts are held, we presume that the detainee is being
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                                                 11   subjected to ‘punishment.’” Jones, 393 F.3d at 933 (citations omitted)
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                                                 12   (emphasis added).
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                                                 13         121. As an initial matter, BOP policy makes clear that that ICE
                                                 14   detainees at Victorville are equivalent to criminal “pre-trial inmates.”9 The
                                                 15   Jones presumption is therefore triggered in this case.
                                                 16         122. In addition, conditions of confinement that are expressly intended
                                                 17   to punish, that are not reasonably related to a legitimate governmental
                                                 18   objective, or that are excessive in relation to that objective, constitute
                                                 19   punishment in violation of the due process clause.
                                                 20         123. The conditions of confinement at Victorville for immigration civil
                                                 21   detainees violate the Due Process Clause.
                                                 22         124. For example, Defendants have deprived and continue to deprive
                                                 23   Plaintiffs and putative class members imprisoned at Victorville of adequate and
                                                 24   necessary health care by, without limitation:
                                                 25                    a. Failing to provide sufficient medical and mental health
                                                 26                       screenings to civil detainees upon their arrival at
                                                 27
                                                      9
                                                       See BOP Program Statement 7331.04, available at
                                                 28   https://www.bop.gov/policy/progstat/7331_004.pdf.

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                                                  1                       Victorville. As a result of Defendants’ actions, Plaintiffs
                                                  2                       and other civil detainees have not received adequate
                                                  3                       medical or mental health care for conditions existing at the
                                                  4                       time they arrived at Victorville, or that have arisen since
                                                  5                       their imprisonment there.
                                                  6                   b. Failing to staff Victorville with adequate numbers of
                                                  7                       qualified medical or mental health care providers and
                                                  8                       custody staff to service the civil detainee population.
                                                  9                   c. Failing to provide a method by which Plaintiffs and other
                                                 10                       detainees can seek non-emergency medical or mental health
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                                                 11                       care when in their cells, or by which they can seek any sort
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                                                 12                       of medical or mental health care when outside of their cells.
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                                                 13                   d. Failing to respond to Plaintiffs’ or other detainees’ requests
                                                 14                       for emergency help, including by using the emergency
                                                 15                       button located in their cells.
                                                 16                   e. Failing to respond to Plaintiffs’ non-emergency requests for
                                                 17                       medical care, and failing to follow-up on known medical
                                                 18                       and mental health concerns.
                                                 19         125. As a result of Defendants’ practices and policies, Plaintiffs are
                                                 20   exposed to a significant risk of serious harm to which Defendants are
                                                 21   deliberately indifferent, in violation of Plaintiffs’ rights under the Due Process
                                                 22   clause of the Fifth Amendment.
                                                 23         126. In addition, Defendants are systemically failing to provide
                                                 24   adequate nutrition to Plaintiffs by serving meals that are inedible or of
                                                 25   insufficient size or nutritional value, and by denying Plaintiffs adequate time to
                                                 26   eat the food they are provided. As a result of Defendants’ policies and
                                                 27   practices, Plaintiffs do not receive adequate nutrition at Victorville, creating a
                                                 28   substantial risk of serious harm to which Defendants are deliberately

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                                                  1   indifferent, in violation of Plaintiffs’ rights secured by the Due Process clause
                                                  2   of the Fifth Amendment.
                                                  3         127. Defendants severely limit Plaintiffs’ access to outdoor exercise to
                                                  4   only a handful of hours each week and such limited and inadequate
                                                  5   opportunities to exercise outside are not regularly scheduled.
                                                  6         128. Defendants severely limit Plaintiffs’ out-of-cell time by
                                                  7   maintaining a policy under which Plaintiffs are on lockdown several times
                                                  8   throughout the day in order to accommodate the movement of Victorville’s
                                                  9   prisoner population.
                                                 10         129. Defendants have impeded Plaintiffs’ and other detainees’ ability
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                                                 11   to practice their faith by refusing to provide religious services and meals that
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                                                 12   meet detainees’ religious needs, severely impeding detainees’ ability to wear
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                                                 13   and possess religious items, and denying detainees access to religious texts,
                                                 14   among other restrictions.
                                                 15         130. The conditions described herein, which are illustrative and not
                                                 16   exhaustive, violate the Due Process clause because they, individually and
                                                 17   collectively: (a) are identical to, similar to, or more restrictive than those in
                                                 18   which persons convicted of criminal offenses at Victorville are confined;
                                                 19   (b) are expressly intended to punish; (c) are not reasonably related to legitimate
                                                 20   governmental objectives; and/or (d) are excessive in relation to those
                                                 21   objectives.
                                                 22                                     SECOND CLAIM
                                                 23         (Violation of the Free Exercise Clause of the First Amendment)
                                                 24         131. Plaintiffs re-allege and incorporate by reference paragraphs 1-130
                                                 25   of this Complaint as if fully set out herein.
                                                 26         132. By Defendants’ conduct alleged above, they have violated, and
                                                 27   continue to violate, Plaintiffs’ and the other detainees’ rights under the Free
                                                 28   Exercise Clause of the First Amendment to the U.S. Constitution.

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                                                  1         133. Defendants’ restriction of Plaintiffs’ and other detainees’ ability to
                                                  2   exercise their religion, as described in detail above, is not narrowly tailored to
                                                  3   further a compelling governmental interest. Nor is there a rational basis or
                                                  4   legitimate penological interest upon which Defendants may justify their
                                                  5   conduct, especially in light of the Defendants’ own written policies pertaining
                                                  6   to religious exercise and the distinctions between civil immigration detainees
                                                  7   and convicted persons.
                                                  8                                     THIRD CLAIM
                                                  9                 (Violation of the Religious Freedom Restoration Act,
                                                                                  42 U.S.C § 2000bb, et seq.)
                                                 10
                                                            134. Plaintiffs re-allege and incorporate by reference paragraphs 1-133
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                                                 11
                                                      of this Complaint as if fully set out herein.
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                                                 12
                                                            135. Defendants’ policies and practices restricting and impeding
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                                                 13
                                                      Plaintiffs’ and the other detainees’ religious exercise, as described above,
                                                 14
                                                      substantially burden Plaintiffs’ and the other detainees’ exercise of their
                                                 15
                                                      sincerely held religious beliefs. Because of Defendants’ conduct, Plaintiffs and
                                                 16
                                                      the other detainees have been, and continue to be, severely impeded or
                                                 17
                                                      prevented outright from attending religious services, engaging in congregate
                                                 18
                                                      worship and group prayer, consulting with clergy and religious leaders,
                                                 19
                                                      following religious requirements for their diet, wearing religious headgear and
                                                 20
                                                      religiously significant jewelry, possessing other religious items, and accessing
                                                 21
                                                      religious texts for reading and religious study. Unless this Court intervenes,
                                                 22
                                                      Plaintiffs and the other detainees will be forced to abandon, or significantly
                                                 23
                                                      limit, their religious practices and violate their sincerely held religious beliefs
                                                 24
                                                      throughout their entire imprisonment at Victorville.
                                                 25
                                                            136. Under RFRA, Defendants may not impose these substantial
                                                 26
                                                      burdens on Plaintiffs and the other detainees unless they can demonstrate that
                                                 27

                                                 28


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                                                  1   doing so is the least restrictive means of furthering a compelling governmental
                                                  2   interest.
                                                  3          137. Defendants have no compelling interest in treating Plaintiffs and
                                                  4   the other detainees in this manner.
                                                  5          138. Even if Defendants could identify a compelling interest to support
                                                  6   their policies and practices pertaining to detainees’ religious exercise, they
                                                  7   have not used the least restrictive means to further that interest. The BOP’s
                                                  8   Program Statement on Religious Beliefs and Practices, Victorville USP’s
                                                  9   Inmate Handbook, and ICE’s Religious Practices and Policy all represent less
                                                 10   restrictive means that could be used by Defendants. To eliminate the
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                                                 11   substantial burdens on Plaintiffs’ and the other detainees’ religious exercise,
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                                                 12   Defendants could also simply release Plaintiffs and the other detainees from
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                                                 13   imprisonment at Victorville, in the same manner that civil detainees have
                                                 14   previously been treated.
                                                 15                              PRAYER FOR RELIEF
                                                 16          WHEREFORE, Plaintiffs respectfully ask this Court to exercise its
                                                 17   federal question jurisdiction over this actual controversy and:
                                                 18          (a)   certify the Civil Detainee Class and Religious Freedom Sub-Class
                                                 19                as proposed above, appoint the Named Plaintiffs to serve as
                                                 20                representatives of those two Classes and appoint undersigned
                                                 21                counsel to represent the two Classes;
                                                 22          (b)   enter an order preliminarily and permanently enjoining
                                                 23                Defendants from imprisoning Plaintiffs, or any member of the
                                                 24                Civil Detainee Class, at Victorville, and set a date certain by
                                                 25                which all such detainees must be removed therefrom;
                                                 26          (c)   enter an order preliminarily and permanently enjoining
                                                 27                Defendants from depriving Plaintiffs:
                                                 28                       i.     of minimally adequate health care;

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                                                  1                     ii.    of adequate food, clean non-prison uniform clothing,
                                                  2                            freedom of movement, and other programming or
                                                  3                            activities that do not cause physical, emotional, and
                                                  4                            psychological harm and other affronts to basic human
                                                  5                            dignity;
                                                  6                     iii.   of their constitutional and statutory rights to exercise
                                                  7                            their freedom of religion;
                                                  8                     iv.    of their rights to due process of law as a result of
                                                  9                            their being imprisoned at Victorville, in conditions
                                                 10                            that are excessive and constitute punishment;
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                                                 11         (d)   award Plaintiffs their attorneys’ fees and costs; and
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                                                 12         (e)   enter such other and further relief as the Court deems just and
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                                                 13               proper.
                                                 14

                                                 15

                                                 16

                                                 17                                                Respectfully submitted,
                                                 18   Dated: August 1, 2018
                                                                                                    /s/ Margot K. Mendelson
                                                 19                                                Margot K. Mendelson
                                                                                                   CA #268583
                                                 20                                                PRISON LAW OFFICE
                                                                                                   1917 Fifth Street
                                                 21                                                Berkeley, CA 94710
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